                                         UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
                                              SAN FRANCISCO DIVISION

 In re:                                                                 Case No, 19-30088 (DM)

 PG&E CORPORATION                                                       Chapter 11

 -and-                                                                  (Lead Case)

  PACIFIC GAS AND ELECTRIC COMPANY,                                     (Jointly Administered)

                                                           Debtors.

                               TRANSFER OF CLAIM OTHER THAN FOR SECURITY
 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. §1111 (a). Transferee hereby gives notice
 pursuant to Rule 3001(e) (2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.

      CONTRARIAN FUNDS, LLC                                       SHAW PIPELINE SERVICES INC
      Name of Transferee                                          Name of Transferor


      Address for all Communications/Notices:                     Name and Current Address of Transferor:

      CONTRARIAN FUNDS, LLC                                       SHAW PIPELINE SERVICES INC
      411 WEST PUTNAM AVE., SUITE 425                             1725 W RENO ST
      GREENWICH, CT 06830                                         BROKEN ARROW, OK 74012
      ATTN: ALISA MUMOLA                                          ATTN: JEREMY ROTE
      Phone: 203-862-8211
      Fax:    203-485-5910
      Email: tradeclaimsgroup@contrariancapital.com

      Address for all Payments/Distributions:

      CONTRARIAN FUNDS, LLC
      ATTN: 392426
      500 ROSS ST 154-0455
      PITTSBURGH, PA 15262



      Schedule/Claim No.                 Creditor Name              Amount                   Debtor                    Case No.
            Schedule F           SHAW PIPELINE SERVICES INC        $27,919.00   Pacific Gas and Electric Company       19-30089
          Claim No. 1369         SHAW PIPELINE SERVICES INC        $68,457.02   Pacific Gas and Electric Company       19-30089
          Claim No. 3736         SHAW PIPELINE SERVICES INC        $53,947.92   Pacific Gas and Electric Company       19-30089
       amends Claim No. 1369

                               I declare under penalty of perjury that the information provided in this notice
                                         is true and correct to the best of my knowledge and belief.

 By:_______/s/ Alisa Mumola_________                                  Date: September 26, 2019
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


     Case: 19-30088             Doc# 4009          Filed: 09/26/19        Entered: 09/26/19 06:17:31               Page 1 of
                                                               4
Case: 19-30088   Doc# 4009   Filed: 09/26/19   Entered: 09/26/19 06:17:31   Page 2 of
                                         4
Case: 19-30088   Doc# 4009   Filed: 09/26/19   Entered: 09/26/19 06:17:31   Page 3 of
                                         4
Case: 19-30088   Doc# 4009   Filed: 09/26/19   Entered: 09/26/19 06:17:31   Page 4 of
                                         4
